
812 So.2d 622 (2002)
STATE ex rel. Kenneth WILSON
v.
STATE of Louisiana.
No. 2001-KH-1464.
Supreme Court of Louisiana.
March 15, 2002.
PER CURIAM.
Writ granted in part; otherwise denied; case remanded. Because relator's "judgment of conviction and sentence" did not become final under La.C.Cr.P. art. 922 until this Court denied his application for writs on direct review in February, 2000, see State v. Wilson, 99-2583 (La.2/11/00), 754 So.2d 935, the prescriptive period of La.C.Cr.P. art. 930.8 does not bar consideration of relator's application for post-conviction relief filed in March, 2001. The district court is accordingly ordered to give the application merits consideration. *623 In all other respects the application is denied.
